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                EXHIBIT A
      CAM-L-000152-22 01/18/2022 3:39:44 PM Pg 1 of 9 Trans ID: LCV2022200760
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       CAM-L-000152-22 01/18/2022 3:39:44 PM Pg 9 of 9 Trans ID: LCV2022200760
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                         Civil Case Information Statement
 Case Details: CAMDEN | Civil Part Docket# L-000152-22

 Case Caption: SCOTT SHARON VS TESLA, INC.                        Case Type: PERSONAL INJURY
 Case Initiation Date: 01/18/2022                                 Document Type: Complaint with Jury Demand
 Attorney Name: CASEY K COLONNA                                   Jury Demand: YES - 6 JURORS
 Firm Name: SMITH MAGRAM MICHAUD COLONNA PC                       Is this a professional malpractice case? NO
 Address: 415 HIGH ST P.O. BOX 603                                Related cases pending: NO
 BURLINGTON NJ 08016                                              If yes, list docket numbers:
 Phone: 6093862633                                                Do you anticipate adding any parties (arising out of same
 Name of Party: PLAINTIFF : SCOTT, SHARON                         transaction or occurrence)? NO
 Name of Defendant’s Primary Insurance Company
 (if known): Unknown                                              Are sexual abuse claims alleged by: SHARON SCOTT? NO




       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 01/18/2022                                                                                         /s/ CASEY K COLONNA
 Dated                                                                                                             Signed
